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13    D and D Marketing, Inc., d/b/a T3Leads,
      Grigor Demirchyan, and Marina Demirchyan
14
15
                                 UNITED STATES DISTRICT COURT
16
                               CENTRAL DISTRICT OF CALIFORNIA
17
                                          WESTERN DIVISION
18
19
      Consumer Financial Protection                Case No. 2:15-cv-09692-PSG(Ex)
20    Bureau,
                                                   Hon. Philip S. Gutierrez
21
22                         Plaintiff,              DECLARATION OF HERBERT P.
                                                   KUNOWSKI IN SUPPORT OF REPLY TO
23           v.                                    OPPOSITION TO DEFENDANTS'
                                                   MOTION FOR CERTIFICATION OF
24    D and D Marketing, Inc., d/b/a               INTERLOCUTORY APPEAL AND
      T3Leads, Grigor Demirchyan, and              CONCOMITANT STAY
25    Marina Demirchyan,
26                                                 Hearing Date:        March 27, 2017
                                                   Hearing Time:        1:30
                                                                        6A p.m.
27                         Defendants.             Courtroom:
                                                   Courthouse:          First Street
28

          DECLARATION OF HERBERT P. KLTNOWSKI IN SUPPORT OF REPLY TO OPPOSITION TO DEFENDANTS' MOTION
      2708332v. I
     Case 2:15-cv-09692-PSG-E Document 74-1 Filed 03/13/17 Page 2 of 4 Page ID #:529



 1                       DECLARATION OF HERBERT P. KUNOWSKI
 2
               I, Herbert P. Kunowski, declare as follows:
 3
 4             1.    I am an attorney at law duly licensed and admitted to practice before all the

 5    courts in the State of California, including this U.S. District Court, and a member of the
 6
      law firm of Wilson, Elser, Moskowitz, Edelman & Dicker LLP, counsel of record for
 7
 8    Defendants, D and D Marketing, Inc., d/b/a T3 Leads, Grigor Demirchyan, and Marina

 9    Demirchyan (collectively "Defendants"), in the above-captioned action brought by
10
      Plaintiff, Consumer Financial Protection Bureau (the "Bureau"). I have personal
11
12    knowledge of the matters stated herein, and could and would competently testify to the
13    following under oath.
14
               2.    On January 6, 2017, in response to the Bureau's counsel, Barry Reiferson,
15
16    requesting that the parties schedule a Rule 26(f) conference, I requested Mr. Reiferson to
17    stipulate to a 60-day continuance of the Scheduling Conference in this case (then set for
18
      March 20), to allow a sufficient opportunity for the Court to rule in the interim on
19
20    Defendants' motion for certification of interlocutory appeal and concomitant stay (filed
21    on December 27 and then set for hearing on the earliest date then available on the
22
      Court's online calendar: March 6). In suggesting this continuance, I sought to
23
24    potentially avoid the substantial waste of resources and expense entailed from a Rule
25
      26(f) conference through the Scheduling Conference in this fact, witness and document-
26
      intensive case. Alternatively, I suggested to Mr. Reiferson on January 6 that the Bureau
27
                                                   2
28        DECLARATION OF HERBERT P. KUNOWSKI IN SUPPORT OF REPLY TO OPPOSITION TO DEFENDANTS' MOTION




      2708332v. I
     Case 2:15-cv-09692-PSG-E Document 74-1 Filed 03/13/17 Page 3 of 4 Page ID #:530



 1    agree to file its opposition to Defendants' certification motion earlier than required, that
 2
      Defendants would likewise agree to file their reply earlier than required, and that
 3
 4    Defendants' fully-briefed motion may then be ruled upon by the Court earlier than

 5    expected. As I explained to Mr. Reiferson, both of my proposals were solely for
 6
      purposes of ensuring the fair, orderly and efficient progress of this litigation by first
 7
 8    having the certification motion adjudicated and allowing Defendants to otherwise pursue
 9    their potential appellate remedies on the constitutional issues in this case. However, Mr.
10
      Reiferson advised me on January 6 that the Bureau would not stipulate to either of my
11
12    proposals, and would oppose Defendants seeking such relief. In response to my inquiry
13    as to why the Bureau was unwilling to agree to either of my proposals that I told Mr.
14
      Reiferson should be in the best interest of all concerned, Mr. Reiferson would only say
15
16    that it was not for the Bureau to "manage" the Court's calendar.
17             3.     Consistent with the foregoing, and contrary to the declaration of Mr.
18
      Reiferson and the Bureau's other representations to this Court, my clients never agreed
19
20    to participate in a Rule 26(f) conference on February 27, and I rejected Mr. Reiferson's
21    requests for me to confirm my clients' participation.
22
      I/I
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25
      I/I
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                                                     3
28          DECLARATION OF HERBERT P. KUNOWSKI IN SUPPORT OF REPLY TO OPPOSITION TO DEFENDANTS' MOTION




      2708332. I
     Case 2:15-cv-09692-PSG-E Document 74-1 Filed 03/13/17 Page 4 of 4 Page ID #:531



 1             I declare under penalty of perjury under the laws of the United States of America
 2
      that the foregoing is true and correct this 13th day of March 2017 at Los Angeles,
 3
 4    California.

 5
 6                                              By: /s/ Herbert P Kunowski
                                                    Herbert P. Kunowski, Declarant
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28        DECLARATION OF HERBERT P. KUNOWSKI IN SUPPORT OF REPLY TO OPPOSITION TO DEFENDANTS' MOTION




      2708332 v.1
